           Case 1:21-cr-00447-CJN Document 159 Filed 11/18/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   :

      v.                                   :   CASE NO. 21 Cr. 447 (CJN)

JOSEPH DANIEL HUTCHINSON, III, :

               Defendant.


               GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
                     TO MODIFY CONDITIONS OF RELEASE

       The United States of America respectfully submits this filing, pursuant to the Court’s

November 17, 2022 minute order, to advise the Court that, provided that the defendant complies

with the terms of his release, including the curfew provision imposed on October 13, 2022, and

adheres to the parameters outlined on pages 4 and 5 of his motion (ECF No. 158), the United

States does not object to his travel from Albany, Georgia to Lakeland, Florida for the

Thanksgiving holiday.

                                           Respectfully submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney

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